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                                             UNITED STATES DISTRICT COURT
                                         FOR THE EASTERN DISTRICT OF MICHIGAN

                            THOMAS A. FOX, and all those similarly situated
                            in the Counties of Gratiot, Saginaw, Bay, Midland, Case No.: 19-cv-11887
                            Isabella, Tuscola, Montmorency, Alpena, Oscoda,
                            Alcona, Arenac, Ogemaw, Clare, and Gladwin,            COMPLAINT
                                  Plaintiffs,                                   JURY DEMANDED

                                 v.                                              ** CLASS ACTION **

                            COUNTY OF SAGINAW by its BOARD OF
                            COMMISSIONERS, TIMOTHY M. NOVAK, in his
                            individual and official capacity, COUNTY OF BAY
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                            by its BOARD OF COMMISSIONERS, RICHARD
                            F. BRZEZINSKI, in his individual capacity,
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                            SHAWNA S. WALRAVEN, in her individual and
                            official capacity; COUNTY OF GRATIOT by its
                            BOARD OF COMMISSIONERS, MICHELLE
                            THOMAS, in her individual and official capacity,
                            COUNTY OF MIDLAND by its BOARD OF
                            COMMISSIONERS, CATHY LUNSFORD, in her
                            individual and official capacity, COUNTY OF
                            ISABELLA by its BOARD OF COMMISSIONERS,
                            STEVEN W. PICKENS, in his individual and
                            official capacity, COUNTY OF TUSCOLA by its
                            BOARD OF COMMISSIONERS, PATRICIA
                            DONOVAN-GRAY, in her individual and official
                            capacity, COUNTY OF MONTMORENCY by its
                            BOARD OF COMMISSIONERS; JEAN M. KLEIN,
                            in her individual and official capacity; COUNTY OF
                            ALPENA by its BOARD OF COMMISSIONERS;
                            KIMBERLY LUDLOW, in her individual and official
                            capacity; COUNTY OF OSCODA by its BOARD
                            OF COMMISSIONERS; WILLIAM KENDALL, in
                            his individual and official capacity; COUNTY OF
                            ALCONA by its BOARD OF COMMISSIONERS;
                            CHERYL FRANKS, in her individual and official
                            capacity; COUNTY OF ARENAC by its BOARD
                            OF COMMISSIONERS; DENNIS STAWOWY, in

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                            his individual and official capacity; COUNTY OF
                            OGEMAW by its BOARD OF COMMISSIONERS;
                            DWIGHT MCINTYRE, in his individual and official
                            capacity; COUNTY OF CLARE by its BOARD OF
                            COMMISSIONERS; JENNY BEEMER-
                            FRITZINGER, in her individual and official
                            capacity; COUNTY OF GLADWIN by its BOARD
                            OF COMMISSIONERS; and CHRISTY VAN TIEM,
                            in her individual and official capacity,

                                  Defendants
                                                                                /

                            OUTSIDE LEGAL COUNSEL PLC                  MATTHEW E. GRONDA (P73693)
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                            PHILIP L. ELLISON (P74117)                 Counsel for Plaintiff
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                                                             COMPLAINT

                                  NOW COMES Plaintiff THOMAS A. FOX, both individually and as

                            class representative, by and through counsel, and complains unto this Court

                            as follows:

                                                              PARTIES

                                  1.      Plaintiff THOMAS A. FOX is named in his individual capacity and

                            as the proposed class representative by being the former owner of real

                            improved property which was foreclosed upon due to a tax delinquency but

                            was injured by the ensuing unconstitutional similar acts or actions of the


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                            County Treasurers via their unconstitutional retention of surplus or excess

                            equity.

                                  2.    Defendants COUNTIES OF GRATIOT, SAGINAW, BAY,

                            MIDLAND, ISABELLA, TUSCOLA, MONTMORENCY, ALPENA, OSCODA,

                            ALCONA, ARENAC, OGEMAW, CLARE, and GLADWIN are named as legal

                            entities formed and/or existing under the laws of the State of Michigan and

                            are   controlled   or   operated   by       its   duly-designated   BOARD   OF
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                            COMMISSIONERS.
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                                  3.    Defendants TIMOTHY M. NOVAK, SHAWNA S. WALRAVEN,

                            MICHELLE THOMAS, CATHY LUNSFORD, STEVEN W. PICKENS,

                            PATRICIA DONOVAN-GRAY, JEAN M. KLEIN, KIMBERLY LUDLOW,

                            WILLIAM KENDALL, CHERYL FRANKS, DENNIS STAWOWY, DWIGHT

                            MCINTYRE, JENNY BEEMER-FRITZINGER, and CHRISTY VAN TIEM are

                            public officials serving as county treasurers for their respective county; each

                            are sued in their official and personal capacities.

                                  4.    Each treasurer is a Foreclosing Governmental Unit (FGU), see

                            Exhibit E, by the affirmative and voluntary decision of each respective

                            county as its own county policy pursuant to MCL 211.78.

                                  5.    Defendant RICHARD F. BRZEZINSKI is a recently retired

                            treasurer of Bay County and is sued in his individual capacity.


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                                                            JURISDICTION

                                  6.      This is a civil action brought seeking unpaid “just compensation”

                            and other monetary damages against Defendants for violations of the Fifth,

                            Eighth and Fourteenth Amendments of the United States Constitution.

                                  7.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, which

                            authorizes federal courts to decide cases concerning federal questions; 28

                            U.S.C. § 1343, which authorizes federal courts to hear civil rights cases; 28

                            U.S.C. § 2201, which authorizes declaratory judgments via the Declaratory
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                            Judgment Act; and 28 U.S.C. § 1367, which authorizes supplemental state
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                            law claims.

                                  8.      Venue is proper in this Court as Defendants, individually and

                            collectively, conduct their business in the Eastern District of Michigan.

                                                      GENERAL ALLEGATIONS
                                  9.      Plaintiff THOMAS A. FOX was the owner(s) of 109 South Court

                            Ave, Alma, Michigan. Exhibit A.

                                  10.     After having a tax delinquency of approximately $3,091.23

                            (which includes the past due tax owed plus additional compounding interest,

                            fees, penalties, and costs), Defendant MICHELLE THOMAS seized

                            ownership of the South Court Avenue property on behalf of the County as its




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                            duly-elected treasurer, Exhibit B, and sold it at tax auction for $25,000.00,

                            Exhibit C.

                                 11.     The South Court Avenue had a state equalized value of

                            $25,200.00, meaning that the government believes that said property had a

                            fair market value of at least $50,400.00, see Exhibit D.

                                 12.     Defendant MICHELLE THOMAS, as county treasurer and/or on

                            behalf of her respective county, destroyed Plaintiff THOMAS A. FOX’s equity
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                            when seizing the entirety of the South Court Avenue property for a debt
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                            which was a mere fraction of the total value or equity, and had no process,

                            plan, or legal mechanism to return the equity seized in excess of the tax

                            delinquency.

                                 13.     Defendant MICHELLE THOMAS, as the county treasurer and/or

                            on behalf of his respective county, destroyed any existing when selling the

                            South Court Avenue property at the highly reduced, non-fair market value

                            price of $25,000.00, and then also kept (and did not return) $21,908.77 as

                            the difference between the tax auction price and the total tax delinquency

                            owed for the benefit of COUNTY OF GRATIOT.

                                 14.     Plaintiff THOMAS A. FOX’s equity of $47,308.77 (i.e. fair market

                            value of $50,400.00 minus the tax delinquency of $3,091.23) was taken or




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                            destroyed by Defendants MICHELLE THOMAS and/or COUNTY OF

                            GRATIOT.

                                  15.   Defendant MICHELLE THOMAS and/or COUNTY OF GRATIOT

                            refuses to pay just compensation for the taking of equity above any lawful

                            debts.

                                  16.   No refund of the excess or surplus equity was provided by

                            Defendants MICHELLE THOMAS and/or COUNTY OF GRATIOT.
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                                  17.   No direct condemnation action or process was initiated for the
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                            amounts above the total tax delinquency.

                                  18.   This    process     has    been     previously     called    “theft,”

                            “unconscionable” and a “manifest injustice” by federal judges and others.

                                  19.   In addition to the property located at 109 South Court Ave, Alma,

                            Michigan, Defendants have, in an identical fashion as outlined above, seized

                            excess equity from other pieces of real properties within the territorial limits

                            which Plaintiff THOMAS A. FOX is also seeking compensation; discovery will

                            provide access to needed documents to prove the same; see Exhibit B.

                                                       CLASS ALLEGATIONS
                                  20.   This action is brought by Plaintiff THOMAS A. FOX individually

                            and on behalf of individuals from the counties of Gratiot, Saginaw, Bay,

                            Midland, Isabella, Tuscola, Montmorency, Alpena, Oscoda, Alcona, Arenac,



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                            Ogemaw, Clare, and Gladwin during the relevant statutorily-limited time

                            period who were subject to the unconstitutional processes which resulted in

                            the taking and/or unconstitutional forfeiture of their surplus or excess equity

                            beyond the tax debt owe and due.

                                      21.   The proposed class consists of all eligible property owners who,

                            within during the relevant statutorily-limited time period, had a property

                            seized by a county treasurer from the counties of Gratiot, Saginaw, Bay,
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                            Midland, Isabella, Tuscola, Montmorency, Alpena, Oscoda, Alcona, Arenac,
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                            Ogemaw, Clare, and Gladwin which was worth and/or which was sold at tax

                            auction for more than the total tax delinquency and was not refunded the

                            excess equity.

                                      22.   The number of injured individuals who have been constitutionally

                            injured is sufficiently numerous to make class action status the most practical

                            method to secure redress for injuries sustained and class wide equitable

                            relief.

                                      23.   There are clear questions fact raised by the named Plaintiff’s

                            claims common to, and typical of, those raised by the Class he seeks to

                            represent, including

                                        a. Each county and its respective treasurer is and has been acting

                                            to voluntarily enforce an unconstitutional statute which each has


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                                       willingly assumed to undertake pursuant to discretion pursuant

                                       to MCL 211.78;

                                    b. Each class member’s property, prior to foreclosure, was worth

                                       and was sold for more than the total tax delinquency owed to the

                                       respective county;

                                    c. Each class member’s property had a fair market value greater

                                       than the total tax delinquency owed to the respective county;
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                                    d. Each county treasurer destroyed thousands of dollars of equity

                                       when selling each class member’s property at a highly reduced,
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                                       below fair market value price;

                                    e. Each county treasurer then kept the excess sales proceed (i.e.

                                       the difference between the tax sale price and the total tax

                                       delinquency owed) for the benefit of their respective county; and

                                    f. Each county treasurer refuses to pay just compensation, failed

                                       to initiate any form of condemnation proceedings, or has filed to

                                       have or undertake a process to return the surplus equity.

                                 24.   There are clear questions of law raised by the named Plaintiff’s

                            claims common to, and typical of, those raised by the Class he seeks to

                            represent, including—




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                                   a. whether the defendants committed an unconstitutional taking by

                                      refusing to pay just compensation when seizing property in the

                                      form of equity and/or monies beyond the amount of unpaid taxes

                                      and administrative expenses, costs and interest owed in a tax

                                      delinquency, and have appropriated property in the form of

                                      excess or surplus equity for public use without the payment of

                                      just compensation in violation of the Fifth and Fourteenth
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                                      Amendments to the United States Constitution and Article X,
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                                      Section 2 of the Michigan Constitution;

                                   b. whether the defendants committed an inverse condemnation by

                                      destroying equity via the seizure process and/or the later sale of

                                      property at a highly reduced, below fair market price and then

                                      retaining the remaining proceeds from the sale of tax foreclosed

                                      property that exceeded the amount of the tax delinquency in

                                      accordance with MCL 211.78m(8)(h); and

                                   c. if deemed a forfeiture, whether the defendants violated either the

                                      Excessive Fines Clause of the United States Constitution, by

                                      retaining proceeds from the sale of tax foreclosed property that

                                      exceeded the amount of the tax delinquency in accordance with

                                      MCL 211.78m(8)(h).


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                                 25.   The violations of law and resulting harms alleged by the named

                            Plaintiff are typical of the legal violations and harms suffered by all Class

                            members.

                                 26.   Plaintiff, as Class representative, will fairly and adequately

                            protect the interests of the Class members and will vigorously prosecute the

                            suit on behalf of the Class; and is represented by sufficiently experienced

                            counsel.
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                                 27.   The maintenance of the action as a class action will be superior
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                            to other available methods of adjudication and will promote the convenient

                            administration of justice, preventing possible inconsistent or varying

                            adjudications with respect to individual members of the Class and/or one or

                            more of the Defendants.

                                 28.   Defendants have acted, failed to act, and/or are continuing to act

                            on grounds generally against Plaintiff and all members of the Class in the

                            same manner.

                                 29.   The violations of law and resulting harms alleged by the named

                            Plaintiff are typical of the legal violations and harms suffered by all Class

                            members.

                                 30.   Plaintiff, as Class representative, will fairly and adequately

                            protect the interests of the Class members and will vigorously prosecute the


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                            suit on behalf of the Class; and is represented by sufficiently experienced

                            counsel.

                                 31.   The maintenance of the action as a class action will be superior

                            to other available methods of adjudication and will promote the convenient

                            administration of justice, preventing possible inconsistent or varying

                            adjudications with respect to individual members of the Class and/or one or

                            more of the Defendants.
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                                                       COUNT I
                                  TAKING – FIFTH/FOURTEENTH AMENDMENT VIOLATION
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                                                    42 USC § 1983
                                              (AGAINST ALL DEFENDANTS)

                                 32.   The prior paragraphs are restated word for word herein.

                                 33.   This claim is being made against all Defendants pursuant to 42

                            USC § 1983.

                                 34.   The Fifth Amendment, made applicable to the states via the

                            Fourteenth Amendment, is a constitutional provision and right requiring the

                            payment of just compensation upon a taking by Defendants, see Knick v Twp

                            of Scott, 588 US ___ (2019).

                                 35.   Defendants have taken Plaintiff’s and the class members’

                            constitutionally-protected property in the form of equity and/or monies

                            beyond the amount of unpaid taxes and administrative expenses, costs and

                            interest owed, and have appropriated property in the form of excess or


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                            surplus equity for public use without the payment of just compensation in

                            violation of the Fifth and Fourteenth Amendments to the United States

                            Constitution.

                                  36.   By Defendants refusing to take any action for the payment of just

                            compensation at time of the taking, Defendants have deprived Plaintiff and

                            the Class of their constitutional right to just compensation in violation of the

                            Fifth and Fourteenth Amendments to the United States Constitution and thus
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                            is in violation of and can be remedied by 42 USC § 1983, 42 USC § 1988.
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                                  37.   The actions described herein is a voluntary policy, custom,

                            and/or practice of each County Defendant or its final policymaker sufficient

                            to impose damages and other relief pursuant to Monell v New York City

                            Department of Social Services and its progeny.

                                  38.   The County Defendants are liable pursuant to the Monell

                            standard as flowing from the execution of the municipality’s policy or custom

                            pursuant one or more of the four recognized methodologies, see Thomas v

                            City of Chattanooga, 398 F3d 426, 429 (CA 6, 2005).

                                  39.   Specifically, each respective Board of Commissioners made the

                            affirmative, voluntary decision to select and designate its own county’s

                            treasurer, rather that the State of Michigan, to act as the Foreclosing

                            Governmental Unit, making the actions herein described as ones undertaken


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                            pursuant to an official county policy for purposes of Monell, (see ¶4, supra;

                            e.g. Exhibit F; and MCL 211.78(3)-(6)).

                                  40.   The actions of Treasurer Defendants were designed to

                            intentionally or wantonly cause harm to Plaintiff and the Class due to the

                            utter disregard of Plaintiff’s and the Class’ constitutionally protected rights.

                                  41.   Defendants have not paid just compensation.

                                  42.   Defendants will not now pay just compensation.
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                                  43.   Defendants do not intend to pay just compensation in the future.
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                                  44.   Plaintiff and the Class have suffered damages which this Court

                            can remedy by an order and/or judgment for an award of damages.

                                                         COUNT II
                                   TAKING – FIFTH/FOURTEENTH AMENDMENT VIOLATION
                                    “ ARISING DIRECTLY” UNDER THE FIFTH AMENDMENT
                                                (AGAINST ALL DEFENDANTS)
                                  45.   The prior paragraphs are restated word for word herein.

                                  46.   This claim is being made against all Defendants under the Fifth

                            Amendment directly.

                                  47.   The Fifth Amendment, made applicable to the states via the

                            Fourteenth Amendment, is a self-executing constitutional provision requiring

                            the payment of just compensation upon the takings undertaken by

                            Defendants.




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                                  48.   Defendants have taken Plaintiff’s and the class members’

                            constitutionally-protected property in the form of equity and/or monies

                            beyond the amount of unpaid taxes and administrative expenses, costs and

                            interest owed, and have appropriated property in the form of excess or

                            surplus equity for public use without the payment of just compensation in

                            violation of the Fifth and Fourteenth Amendments to the United States

                            Constitution.
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                                  49.   By Defendants refusing to take any action for the payment of just
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                            compensation at time of the taking, Defendants have deprived Plaintiff and

                            the Class of their constitutional right to just compensation in violation of the

                            Fifth and Fourteenth Amendments to the United States Constitution and thus

                            the violation can be remedied by a direct claim under the Fifth Amendment.

                                  50.   Defendants have not paid just compensation.

                                  51.   Defendants will not now pay just compensation.

                                  52.   Defendants do not intend to pay just compensation in the future.

                                  53.   Plaintiff and the Class have suffered damages which this Court

                            can remedy by an order and/or judgment for an award of damages.

                                                        COUNT III
                                          STATE LAW - INVERSE CONDEMNATION
                                           (AGAINST DEFENDANT COUNTIES AND
                                        TREASURERS IN THEIR OFFICIAL CAPACITIES)
                                  54.   The prior paragraphs are restated word for word herein.


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                                   55.   Defendants have taken Plaintiff’s and the class members’

                            constitutionally-protected property in the form of equity and/or monies

                            beyond the amount of unpaid taxes and administrative expenses, costs and

                            interest owed, and have appropriated said equity and/or monies for public

                            use without the payment of just compensation.

                                   56.   Defendants have taken Plaintiff’s and the class members’

                            constitutionally-protected property in the form of equity and/or monies
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                            beyond the amount of unpaid taxes and administrative expenses, costs and
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                            interest owed, and have appropriated said equity and/or monies for public

                            use without using any direct condemnation processes, including those

                            outlined under the Uniform Condemnation Procedures Act, MCL 213.51, et

                            seq.

                                   57.   Defendants have not and will not provide Plaintiff and the

                            member of the Class any opportunity to claim the surplus equity from the

                            seizure and/or later sale of their respective property, nor do Defendants

                            provide or have a process to claim compensation at the time the Defendants

                            seized title to their taken property interests.

                                   58.   Defendants have not paid just compensation.

                                   59.   Defendants will not now pay just compensation.

                                   60.   Defendants do not intend to pay just compensation in the future.


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                                  61.   An inverse condemnation with damages has occurred.

                                  62.   Plaintiff and the Class have suffered damages which this Court

                            can remedy by an order and/or judgment for an award of damages.

                                                     COUNT IV
                               STATE LAW – VIOLATION OF MICHIGAN CONST, ART X, SEC 2
                                        (AGAINST DEFENDANT COUNTIES AND
                                     TREASURERS IN THEIR OFFICIAL CAPACITIES)

                                  63.   The prior paragraphs are restated word for word herein.

                                  64.   Defendants have taken Plaintiff’s and the class members’
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                            constitutionally-protected property in the form of equity and/or monies
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                            beyond the amount of unpaid taxes and administrative expenses, costs and

                            interest owed, and have appropriated said equity and/or monies for public

                            use without the payment of just compensation.

                                  65.   Defendants have taken Plaintiff’s and the class members’

                            constitutionally-protected property in the form of equity and/or monies

                            beyond the amount of unpaid taxes and administrative expenses, costs and

                            interest owed, and have appropriated said equity and/or monies for public

                            use without using any direct condemnation processes, including those

                            outlined under the Uniform Condemnation Procedures Act, MCL 213.51, et

                            seq, and was done so in violation of Article X, Section 2 of the Michigan

                            Constitution.




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                                  66.   Defendants have not and will not provide Plaintiff and the

                            member of the Class any opportunity to claim the surplus equity from the

                            seizure and/or later sale of their respective property, nor do Defendants

                            provide or have a process to claim compensation at the time the Defendants

                            seized title to their taken property interests.

                                  67.   Defendants have not paid just compensation.

                                  68.   Defendants will not now pay just compensation.
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                                  69.   Defendants do not intend to pay just compensation in the future.
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                                  70.   Plaintiff and the Class have suffered damages which this Court

                            can remedy by an order and/or judgment for an award of damages.

                                                       COUNT V
                                  EXCESSIVE FINE – AUSTIN CLAIM - EIGHTH AMENDMENT
                                                      VIOLATION
                                                     42 USC § 1983
                                              (AGAINST ALL DEFENDANTS)
                                  71.   The prior paragraphs are restated word for word herein.

                                  72.   This Count is pled to the extent that Defendants argue or assert

                            that Plaintiff or any class member “forfeited” or (as it is sometimes falsely

                            described) relinquished property pursuant to General Property Tax Act.

                                  73.   The Eighth Amendment to the United States Constitution is the

                            part of the United States Bill of Rights prohibiting the government from




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                            imposing excessive fines, which the US Supreme Court has applied to

                            action(s) involving forfeitures.

                                  74.   By imposing and retaining an excessive fine in the form of the

                            forfeiture of value of the equity interest in property in excess of the tax

                            delinquency, Plaintiff’s and the class members’ Eighth Amendment rights

                            have been violated, see Austin v United States, 509 U.S. 602 (1993).

                                  75.   Keeping the value of the equity interest in property in excess of
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                            the tax delinquency (which already includes interest, fees, and costs) is
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                            punitive and not remedial.

                                  76.   The actions described herein is a policy, custom, and/or practice

                            of each County Defendant or its final policymaker sufficient to impose

                            damages and other relief pursuant to Monell v New York City Department of

                            Social Services and its progeny.

                                  77.   The County Defendants are liable pursuant to the Monell

                            standard as flowing from the execution of the municipality’s policy or custom

                            pursuant one or more of the four recognized methodologies, see Thomas v

                            City of Chattanooga, 398 F3d 426, 429 (CA 6, 2005).

                                  78.   The conduct of Defendants was reckless and undertaken with

                            complete in indifference to Plaintiff’s and the class members’ federal rights




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                            to be free from violations of the Eighth Amendment to the United States

                            Constitution.

                                  79.   Said actions violate the Eighth Amendment to the United States

                            Constitution, and is remedied by a money judgment against Defendants

                            pursuant to 42 USC § 1983 and § 1988.

                                  80.   Plaintiff and the Class have suffered damages which this Court

                            can remedy by an order and/or judgment for an award of damages.
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                                                       RELIEF REQUESTED

                                  81.   WHEREFORE, Plaintiff THOMAS A. FOX and the class
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                            members respectfully request this Court to—

                                     a. Enter an order certifying this case as a class action;

                                     b. Enter an order declaring the conduct of Defendants as being

                                        unconstitutional under the federal and state constitutions, even if

                                        being undertaken consistent with the General Property Tax Act;

                                     c. Enter an order for damages and/or compensation under any or

                                        all legal theories raised in the amount of the surplus equity (i.e.,

                                        the difference between the tax auction price and the tax bill) or,

                                        in the event that the property is sold for less than fair market

                                        value, for the return to the delinquent taxpayer of the difference

                                        between the full market value and the tax bill;



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                                    d. Enter an order of additional damages and/or compensation to

                                       reach an amount equaling 125% of the property’s fair market

                                       value if deemed by this Court that private property consisting of

                                       an individual’s principal residence was taken for public use

                                       pursuant to Article X, Section 2 of the Michigan Constitution;

                                    e. Enter an order for an award of interest as provided for in Knick v

                                       Twp of Scott;
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                                    f. Enter an order for an award of nominal and punitive damages
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                                       awardable under federal law, if applicable;

                                    g. Enter an order for an award of actual reasonable attorney fees

                                       and litigation expenses pursuant to all applicable laws, rules, or

                                       statutes; and

                                    h. Enter an order for all such other relief the court deems equitable.

                                                         JURY DEMAND
                                 82.   For all triable issues, a jury is hereby demanded.




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                            Date: June 25, 2019                RESPECTFULLY SUBMITTED:

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